
29 A.3d 997 (2011)
422 Md. 347
In the Matter of the Application of Richard Jerome THORNE Jr. for Admission to the Bar of Maryland.
Misc. Docket No. 3, September Term, 2011.
Court of Appeals of Maryland.
October 7, 2011.
Joseph Murtha, Esquire of Miller, Murtha and Psoras, LLC, Lutherville, MD, for Applicant.
Argued before BELL, C.J., HARRELL, BATTAGLIA, GREENE, ADKINS, BARBERA and JOSEPH F. MURPHY, JR. (Retired, Specially Assigned), JJ.

ORDER
The Court having considered the separate recommendations of the Character Committee for the Third Appellate Circuit of Maryland and the State Board of Law Examiners for admission of the applicant, Richard Jerome Thorne Jr., to the Bar of Maryland and the oral argument of applicant presented at a hearing held before this Court on October 6, 2011, it is this 7th day of October, 2011.
ORDERED, by the Court of Appeals of Maryland, a majority of the Court concurring, that the unfavorable recommendation of the Character Committee for the Third Appellate Circuit be, and it is hereby, rejected, and the favorable recommendation of the State Board of Law Examiners be, and it is hereby, accepted, and that the applicant, Richard Jerome Thorne Jr., upon taking the oath prescribed by the statute, be admitted to the practice of law in this State.
